              Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 1 of 13




                            IN T H E UNITED STATES DISTRICT COURT / k ^ ^ ^ j j j ^ _ ^
                           FOR T H E NORTHERN DISTRICT OF G E O R G I ^ S P ^ ^ - - ^ " ^ ^ " '
                                        ATLANTA DIVISION

             DEVORIOUS MONTEZ WOODEN                       MOTION TO VACATE
             JONES,                                        28 U.S.C. § 2255
                 Movant,
                                                           CRIMINAL INDICTMENT NO.
                   V.                                      l:10-CR-0453-ODE-JFK-4

             UNITED STATES OF AMERICA,                     CIVIL FILE NO.
                 Respondent.                               1:14-CV-1000-ODE-JFK


                             ORDER ADOPTING MAGISTRATE JUDGE'S
                             FINAL R E P O R T AND RECOMMENDATION


                   The matter is before the Court on Movant's 28 U.S.C. § 2255 motion to vacate,

             as amended [191, 192];^ Magistrate Judge Janet F. King's Final Report and

             Recommendation ("R&R"), which recommends denying the § 2255 motion and a

             certificate of appealability ("COA") [202]; and Movant's objechons [207].

                   In reviewing a Magistrate Judge's Report and Recommendation, the district

             court "shall make a de novo determination of those portions ofthe report or specified

             proposed findings or recommendations to which objection is made." 28 U.S.C.



                   'Movant's second motion for an extension of time in which to file a § 2255
             motion [191] was construed as a motion to vacate and his subsequently filed motion
             [192] was construed as a motion to amend, which was granted in part to allow his
             claim of cumulative error. (Order of Sept. 26, 2014, at 5, ECF No. 196.)



AO 72A
(Rev.8/82)
     Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 2 of 13




§ 636(b)(1). Absent objection, the district judge "may accept, reject, or modify, in

whole or in part, the findings and recommendations made by the magistrate judge,"

id., and "need only satisfy itself that there is no clear error on the face of the record in

order to accept the recommendation," Fed. R. Civ. P. 72, advisory committee note,

1983 Addition, Subdivision (b).

I.       Discussion

         Movant was convicted of conspiracy to commit armed robbery, in violation of

18 U.S.C. § 1951(a), and using and carrying a firearm in relation to a crime of

violence, in violation of 18 U.S.C. §§ 2,924(c)(1)(A). (See R&R at 2, ECF No. 202.)

Movant pleaded guilty to the conspiracy count, and he does not contest that he,

Oke vilibus Thornton, and Timothy and Troy Stephens j ointly planned the robbery and

that in October 2010 he and Thornton jointly participated in the robbery of a Loomis

Armored Truck while it was stopped at the DeKalb Medical Center in Decatur,

Georgia. (Id.) Movant, however, did contest the gun charge and proceeded to a bench

trial on the § 924(c) count.

         The trial evidence included testimony by Deborah Lane Goddard, driver of the

armored truck; Theo J. Price, the armored truck messenger; Jacquelyn Taylor,

production supervisor atthe DeKalb Medical Center; Brenda Lencrerot, a food service

                                             2
              Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 3 of 13




             hostess with the DeKalb Medical Center; Ephraim Lawson, Chef for the DeKalb

             Medical Center; Thornton, co-conspirator and Loomis employee; and Cynthia J.

             Myers, Federal Bureau of Investigations Special Agent. (See R&R at 6-7, 14-15.)

                           Taylor, production supervisor at the DeKalb Medical Center,
                   testified that she realized a robbery was occurring when she saw a man
                   with a gun in his hand banging on the door of the armored truck, that she
                   thought it was the passenger's side, that she could not see his face, and
                   that he was wearing a sweater with a hood. . . . On cross examination,
                   counsel asked, "were you able to see the face of the person who was in
                   your words banging on the door?" . . . Taylor confirmed that she could
                   not.

             (R&R at 15 (citations omitted).)

                   . . . Lencrerot, a food service hostess with the DeKalb Medical Center,
                   who observed the robbery from a second story window, testified that it
                   looked like the robber with dread locks was carrying a gun when he came
                   out of the armored vehicle carrying money bags. . . . Lawson, Chef for
                   the DeKalb Medical Center, who observed the robbery transpiring within
                   several feet of where he was standing before he ran back inside the
                   building, testified that he saw one of the robbers watching with a gun in
                   his hand.

             (R&R at 6 (citation omitted).) Both Lencrerot and Lawson testified that they could

             not see the face of the robber with the gun. (R&R at 15.)

                   . . . Goddard, driver of the armored truck, testified that she did not see
                   either robber with a gun and that, after the robbery, Price, the truck
                   messenger, came out of the building with his gun drawn and came to the
                   door of the truck (but did not knock on the door of the truck). . . . Price



                                                       3


AO 72A
(Rev.8/82)
 Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 4 of 13




      testified that when he came out of the building, after the robbery, he had
      his gun drawn and went to the driver's side of the armored vehicle. . . .

(R&R at 14 (citations omitted).)

             Thornton, co-conspirator and Loomis employee, testified that he
      pleaded guilty to possessing a firearm during the commission of the
      robbery at issue; that Movant became involved in the planning
      approximately two weeks before the robbery; that he and Movant both
      possessed guns when they twice unsuccessfully attempted a robbery of
      the truck before the actual robbery; that he and Movant both possessed
      guns during the actual robbery; that he saw Movant holding his gun
      during the robbery; and that Movant was wearing his hair in dread locks
      on the day of the robbery     Thornton testified that Loomis drivers and
      messengers are required to be armed while working and that he discussed
      with his co-conspirators, including Movant, the risk of being shot during
      the robbery      Thornton admitted that he had not initially been truthful
      about the guns "[bjecause I didn't want to get charged with no gun." . . .
      On cross-examination, Thornton admitted that previously he stated to the
      police that he had told his codefendants that a gun would not be
      necessary, that he had left his gun in the u-haul (the vehicle they drove
      to the robbery), and that Movant did not have a gun. . . .

      . . . Myers, Federal Bureau of Investigation Special Agent, testified that
      Movant informed her that he had agreed the night before the robbery to
      participate in the robbery and went out and bought a handgun, that he did
      participate in the robbery the next day, but that he did not use the
      gun

(R&R at 6-7 (citations omitted).)




                                          4
  Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 5 of 13




      The Court found Movant guihy on the § 924(c) count and imposed consecutive

sentences of forty-six and eighty-four months.^ (R&R at 2; Sentencing Tr. at 12, 18,

ECF No. 175.)

      Movant sought a new trial on the grounds that the verdict was against the

weight of the evidence, and the Court denied that motion, finding that there was

sufficient evidence to support the outcome. (Sentencing Tr. at 2.) Movant appealed

the court's sentencing finding that he brandished a firearm, the reasonableness ofhis

sentence, and the court's failure to give him a reduction for acceptance of

responsibility. See United States v. Jones, 498 F. App'x 900, 901-02 (2012). The

Eleventh Circuit Court of Appeals affirmed. I d On March 25, 2013, the United

States Supreme Court denied certiorari. Jones v. United States, _ U.S. _, 133 S. Ct.

1652 (2013).

      In his § 2255 motion, Movant has asserted that (1) appellate counsel was

ineffective for failing to inform him when the United States Supreme Court denied

certiorari, (2) appellate counsel was ineffective for failing to challenge the sufficiency




       ^Section 924(c)(l)(A)(ii) requires a term of imprisonment of not less than seven
years (eighty-four months) if the firearm is brandished.

                                            5
  Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 6 of 13




of the evidence on the § 924(c) charge, (3) trial counsel was ineffective for failing to

call the Stephenses as witnesses, (4) trial counsel was ineffective for failing to cross

examine witnesses to show that there was no clear identification of the person who

possessed the gun, and (5) cumulative error by trial counsel. (See R&R at 3.)

      A.     Ineffective Assistance of Appellate Counsel for Failing to Inform
             Movant in a Timely Manner that the United States Supreme Court
             had Denied Certiorari

      In his first § 2255 ground for relief. Movant argues that appellate counsel was

ineffective for failing to inform him when the United States Supreme Court denied

certiorari, which Movant asserts he did not discover until approximately one month

before his § 2255 motion was due, thereby limiting his ability to file a proper § 2255

motion. (Mot. to Vacate at 2-3, ECF No. 191). The Magistrate Judge found that

Movant complained of counsel's performance on this matter only as it related to the

effect on his collateral rights and that the claim, therefore, failed because Movant has

no constitutional right to counsel in relation to his collateral rights. (R&R at 5.)

       Movant objects, but provides no argument as to why the Magistrate Judge's

finding and recommendation is incorrect. (Objections at 1, ECF No. 207.) Absent a

specific objection, the Court has reviewed this issue for clear error and finds none.




                                           6
  Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 7 of 13




      B.     Ineffective Assistance of Appellate Counsel for Failing to Challenge
             the Sufficiency of the Evidence on the § 924tc) Gun Charge

      In his second ground for relief, Movant argues that his appellate counsel's

failure to challenge the sufficiency of the evidence on the gun charge was ineffective

because (1) there was not sufficient evidence to show that Movant used a gun;

(2) Thornton's admission and all the evidence pointed to Thornton as the person who

used a gun; (3) Movant did not know that Thornton would carry a gun and Thornton's

initial statements (which he contradicted at trial) support that Movant did not know

Thornton would carry a gun; and (4) it was not reasonably foreseeable that Thornton

would carry a gun. (See R&R at 7-9.)

      The Magistrate Judge found as follows ~

             Appellate counsel's failure to appeal whether there was sufficient
      evidence on the gun charge was reasonable because, notwithstanding
      Thornton's prior inconsistent statements, Thornton's testimony provided
      sufficient credible evidence to find beyond a reasonable doubt that
      Movant used or carried a firearm in relation to the robbery. Additionally,
      Movant's admitted participation in the robbery, the evidence of the
      planning and discussion regarding the risks of the robbery, and the
      evidence that Movant and Thornton carried guns during two practice
      attempts, provides sufficient evidence to fmd beyond a reasonable doubt
      that Movant is guilty based on aiding and abetting Thornton carrying a


       ^ To the extent that Movant attempts to challenge appellate counsel's assistance
on the Court's sentencing finding that he brandished a gun, appellate counsel did raise
that issue on appeal and, therefore, was not deficient in regard thereto.

                                          7
               Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 8 of 13




                   gun during the robbery. That same evidence is sufficient to fmd beyond
                   a reasonable doubt that Movant is guilty because it was reasonably
                   foreseeable that Thornton would carry a gun. Thus, Movant's argument
                   that there is insufficient evidence to show that he aided and abetted the
                   § 924(c) crime fails on the merits and fails based on Movant's
                   Pinkerton['^j liability.

             (R&R at 11.)

                   Movant objects because (1) the Magistrate Judge unduly credited Thornton's

             statement that he advised his co-conspirators on the risk of being shot; (2) Thornton

             initially had stated that Movant did not have a gun and then contradicted himself; and

             (3) Movant never knew Thornton would carry a gun and, therefore, cannot be held

             liable under Pinkerton. (Objechons at 2-6.) Movant also objects on the grounds that

             counsel's failure to raise the issue (as specifically requested by Movant) - counsel's

             procedural default - was deficient and presumptively prejudicial, as stated in cases

             that review counsel's failure to file a requested appeal. (Id.)

                   Under the Sixth Amendment, a criminal defendant possesses a right to

             reasonably effective legal assistance. Strickland v. Washington, 466 U.S. 668, 687

             (1984). To succeed on a claim of ineffective assistance of appellate counsel under

             Strickland, the movant must demonstrate deficient performance by counsel and


                     ^Pinkerton v. United States, 328 U.S. 640, 647-48 (1946) (extending criminal
             liability for reasonably foreseeable crimes committed in furtherance of a conspiracy).

                                                        8


AO 72A
(Rev.8/82)
  Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 9 of 13




demonstrate that, i f counsel had not performed deficiently, there is a reasonable

probability that the appellate outcome would have been favorable to the movant. See

Ferrell v. Hall 640 F.3d 1199, 1236 (11th Cir. 2011).

       Movant's objection based on presumed prejudice is without merit. Movant

incorrectly relies on cases that fmd deficiency and presumed prejudice when counsel

completely fails to file an appeal as specifically directed. There is no presumed

prejudice based on counsel's failure to raise a particular claim on appeal. Compare

Roe V . Flores-Ortega, 528 U.S. 470,477 (2000) ("[A] lawyer who disregards specific

instructions from the defendant to file a notice of appeal acts in a manner that is

professionally unreasonable."1 and Gomez-Diaz v. United States. 433 F.3d 788, 790

(11th Cir. 2005) (stating that it is well settled that prejudice is presumed when counsel

disregards a client's specific instructions to file an appeal), with Dell v. United States,

710 F.3d 1267, 1281 ( l l t h Cir. 2013) ("'[G]ood advocacy requires winnowing out

some arguments . . . to stress others.' . . . Thus, it is quite difficult to establish that the

omission of any particular argument resulted in ineffective assistance . . . ." (quoting

Chandler v. United States, 218 F.3d 1305,1319 (11 th Cir. 2000))). cert, denied, _U.S.

_, 134 S. Ct. 1508 (2014), and Eagle v. Linahan. 279 F.3d 926, 940 (11th Cir. 2001)

("[T]he Sixth Amendment does not require appellate attomeys to press every

                                               9
 Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 10 of 13




non-frivolous issue that the client requests to be raised on appeal, provided that

counsel uses professional judgment in deciding not to raise those issues.").

      Additionally, it was up to the fact-fmder, here the Court, to weigh the evidence

and witness credibility, and the evidence presented was sufficient to support Movant's

conviction under § 924(c). There was more than sufficient evidence to show that a

robber carried a gun during the robbery. Further, evidence shows that Movant helped

plan the robbery, that weapons were discussed during the planning, that weapons were

used during two unsuccessful attempts in which Movant participated, and that Movant

admitted to an agent that he bought a gun the day before the robbery. At a minimum,

this evidence shows that it was reasonably foreseeable that Thornton would use or

carry a gun, for which Movant would be liable under Pinlcerton. The Court finds no

error in the Magistrate Judge's recommendation that Movant fails to show that

appellate counsel was ineffective in failing to argue that the § 924(c) evidence was

insufficient.

      C.        Ineffective Assistance of Trial Counsel

      In his third ground for relief. Movant argues that trial counsel was ineffective

for failing to call the Stephenses as witnesses to testify that Movant never carried a

gun in this case; failing to cross-examine Price to show that Taylor had seen Price (not

                                          10
 Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 11 of 13




a robber) with a gun; and failing to cross examine Taylor, Lencrerot, and Lawson to

show that there was no clear identification (other than by Thornton) of the robber who

possessed the gun. (See R&R at 12, 15-16 n.9.)

      The Magistrate Judge found that there was no concrete showing that the

Stephenses would indeed have been willing and available to testify that Movant never

carried a gun in this case and that, based on Movant's aiding and abetting and

Pinkerton liability, he would not otherwise be able to show prejudice. (R&R at 14.)

The Magistrate Judge found that evidence already showed that Taylor, Lencrerot, and

Lawson had not seen the face of the robber with the gun and that any failure by

counsel to cross-exam and reconfirm that fact was not deficient as it would not have

added to the facts already before the Court. ( I d at 16.) Further, the Magistrate Judge

found that even i f Taylor saw Price, not a robber, with a gun, the evidence was

otherwise sufficient to fmd Movant guilty under § 924(c). (R&R at 17.) The

Magistrate Judge concluded that Movant had not shown that trial counsel was

ineffective. (Id.)

      Movant objects because he has been unable to contact the Stephenses and

asserts that, if the Court held an evidentiary hearing, he would be able to show that he

never possessed a gun. (Objections at 6-8.)

                                           11
 Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 12 of 13




      Strickland again applies, and to show constitutionally ineffective assistance of

counsel, a petitioner must establish that (1) counsel' s representation was deficient and

(2) counsel's deficient representation prejudiced him. Strickland, 466 U.S. at 690-92.

      Movant's objection fails because, even i f the Stephenses testified that they

never saw Movant with a gun, the other evidence before the Court - reviewed above

- would have been more than sufficient to fmd Movant guilty based on Thornton's

admission that he carried a gun during the robbery, which the evidence shows should

have been reasonably foreseeable to Movant. Thus, Movant fails to show prejudice.

Otherwise the Court finds no clear error in the Magistrate Judge's recommendation

on this ground.

      D-     Cumulative Error

      In his fourth ground for relief. Movant argues that cumulatively he was

prejudiced by counsel's deficiencies. (SeeR&Rat 17). The Magistrate Judge found

that to succeed Movant would have to demonstrate that counsel's performance was

professionally unreasonable on the individual claims and that, together, those errors

prejudiced him. (Id.) The Magistrate Judge then found that based on Movant's aiding

and abetting or Pinkerton liability, he could not show prejudice. (R&R at 17.)




                                           12
              Case 1:10-cr-00453-JPB-JFK Document 208 Filed 05/08/15 Page 13 of 13




                   Movant objects based on his previous argument that prejudice should be

             presumed. (Objections at 9.) As discussed earlier, Movant shows no grounds for

             presumed prejudice. Otherwise, the Court finds no clear error in the Magistrate

             Judge's recommendation on ground four.

             II.   Conclusion

                   I T IS ORDERED that Movant's objechons [207] are overruled and that the

             Magistrate Judge's Report and Recommendation [202] is ADOPTED as the Order of

             the Court.

                   I T IS F U R T H E R O R D E R E D that this § 225 5 motion, as amended [191,192],

             and a COA are DENIED.




                   I T IS SO ORDERED this            day of May, 2015.




                                                    ORINDA D. EVANS
                                                    UNITED STATES DISTRICT JUDGE




                                                       13


AO 72A
(Rev.8/82)
